              Case 1:20-bk-12043                  Doc 1     Filed 07/22/20 Entered 07/22/20 17:00:12                               Desc Main
                                                            Document     Page 1 of 20

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF OHIO

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           02/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Hopedale Mining LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  86391 Mine Rd.
                                  Hopedale, OH 43976
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Harrison                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       N/A


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Hopedale Mining LLC                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                2121

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                  proceed under Subchapter V of Chapter 11.
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12

9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                Case number
                                                 District                                 When                                Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Rider 1 attached hereto.                                  Relationship
                                                 District                                 When                            Case number, if known




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Debtor   Hopedale Mining LLC                                                                     Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Hopedale Mining LLC                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      07/22/2020
                                                  MM / DD / YYY


                             X     /s/ Richard A. Boone                                                   Richard A. Boone
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President and Chief Executive Officer




18. Signature of attorney    X   /s/ Douglas L. Lutz                                                       Date    07/22/2020
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Douglas L. Lutz
                                 Printed name

                                 Frost Brown Todd LLC
                                 Firm name

                                 3300 Great American Tower
                                 301 East Fourth Street
                                 Cincinnati, OH 45202
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     513-651-6800                  Email address      dlutz@fbtlaw.com

                                 0064761 OH
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify your case:

 United States Bankruptcy Court for the:
 Southern District of Ohio
 Case number (if known)                        Chapter 11




                                          Rider 1
           Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
petition in the United States Bankruptcy Court for the Southern District of Ohio for relief under
chapter 11 of title 11 of the United States Code. The Debtors have moved for joint administration
of these cases under the case number assigned to the chapter 11 case of Hopedale Mining LLC.

 Hopedale Mining LLC                                          Castle Valley Mining LLC
 Rhino GP LLC                                                 Jewell Valley Mining LLC
 Rhino Resource Partners LP                                      Rhino Services LLC
 Rhino Energy LLC                                            Rhino Oilfield Services LLC
 Rhino Trucking LLC                                            Rhino Technologies LLC
 Rhino Exploration LLC                                            CAM Mining LLC
 Triad Roof Support Systems LLC                              Rhino Coalfield Services LLC
 Springdale Land LLC                                        CAM-Kentucky Real Estate LLC
 McClane Canyon Mining LLC                                          CAM-BB LLC
 Rhino Northern Holdings LLC                                     Leesville Land LLC
 CAM-Ohio Real Estate LLC                                        CAM Aircraft LLC
 CAM-Colorado LLC                                               Pennyrile Energy LLC
 Taylorville Mining LLC                                          Rhino Eastern LLC
 CAM Coal Trading LLC                                           Rockhouse Land LLC


0110354.0731024 4815-6614-4440v1
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                                                               United States Bankruptcy Court
                                                                       Southern District of Ohio
 In re      Hopedale Mining LLC                                                                            Case No.
                                                                                   Debtor(s)               Chapter       11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case.

 Name and last known address or place of                             Security Class Number of Securities              Kind of Interest
 business of holder
 Rhino Energy, LLC                                                   Sole Member    100%                              Membership interest
 424 Lewis Hargett Circle, Suite 250
 Frankfort, KY 40601




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                       Southern District of Ohio
 In re      Hopedale Mining LLC                                                                    Case No.
                                                                                  Debtor(s)        Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Hopedale Mining LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Rhino Energy, LLC
 424 Lewis Hargett Circle, Suite 250
 Frankfort, KY 40601




 None [Check if applicable]




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       Fill in this information to Identify the case:

       Debtor Name: Hopedale Mining LLC
                                                                                                                                         Check if this is an
       United States Bankruptcy Court for the:      Southern District of Ohio                                                            amended filing
       Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 40
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 40 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
  the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include
  claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of
  the 40 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                          professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                          services, and         or disputed     setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if       Deduction          Unsecured claim
                                                                                                                partially secured     for value of
                                                                                                                                      collateral or
                                                                                                                                      setoff

   1       BLUE RIDGE BANK, N.A.               CONTACT: BRETT TAXIN,      PPP LOAN               Contingent                                                 $10,000,000.00
           17 W MAIN STREET                    EXECUTIVE VICE PRESIDENT
           LURAY, VA 22835                     PHONE: 773-266-1638
                                               FAX: 540-743-5536
                                               BTAXIN@MYBRB.COM
   2       WHAYNE SUPPLY COMPANY               CONTACT: JOSEPH YOERG,     TRADE DEBT                                                                         $4,898,611.83
           1400 CECIL AVENUE                   CEO
           LOUISVILLE, KY 40211                PHONE: 606-864-2276
                                               FAX: 502-423-2726
                                               KAREN_FERRIS@WAYNE.CO
                                               M;
                                               JOSEPH_YOERG@WAYNE.CO
                                               M
   3       ROCKWOOD CASUALTY INSURANCE         CONTACT: RON DAVIDSON,     TRADE DEBT                                                                           $678,094.04
           CO                                  VICE PRESIDENT
           654 MAIN STREET                     PHONE: 814-926-5372
           ROCKWOOD, PA 15557                  FAX: 814-926-2641
                                               RON.DAVIDSON@ROCKWOO
                                               DCASUALTY.COM
   4       JOY GLOBAL UNDERGROUND LLC          CONTACT: EDWARD            TRADE DEBT                                                                           $620,728.37
           177 THORNHILL ROAD                  DOHENY, II CEO
           WARRENDALE, PA 15086                PHONE: 724-779-4500
                                               FAX: 724-779-4509
                                               DEVLIN.CIARROCHI@JOYGLO
                                               BAL.COM
   5       MINOVA USA INC                      CONTACT: TAYLOR OGATA      TRADE DEBT                                                                           $523,602.32
           150 SUMMER COURT                    PHONE: 502-863-6805
           GEORGETOWN, KY 40324                TAYLOR.OGATA@MINOVAGL
                                               OBAL.COM




Official Form 204          Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 40 Largest Unsecured Claims                                    Page 1
               Case 1:20-bk-12043              Doc 1      Filed 07/22/20 Entered 07/22/20 17:00:12                                   Desc Main
  Debtor: Hopedale Mining LLC                             Document     Page 9 ofCase
                                                                                 20 Number (if known):

   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured claim
                                                                                                           partially secured     for value of
                                                                                                                                 collateral or
                                                                                                                                 setoff

   6    CONSOL MINING COMPANY LLC          CONTACT: ANTHONY         TRADE DEBT                                                                            $492,126.95
        1000 CONSOL ENERGY DRIVE           DREZEWSKI, DIRECTOR LAND
        CANONSBURG, PA 15317               RESOURCES
                                           PHONE: 724-416-8266
                                           ANTHONYDREZEWSKI@CONS
                                           OLENERGY.COM
   7    AUSTIN SALES LLC                   CONTACT: VIRLO STILTNER   TRADE DEBT                                                                           $490,268.12
        1327 LOVERS GAP RD                 PHONE: 276-597-4449
        VANSANT, VA 24656-8422             INFO@VADRILLCO.COM
   8    C & M GIANT TIRE LLC               CONTACT: BRADLEY SCOTT    TRADE DEBT                                                                           $456,383.76
        980 W. NEW CIRCLE RD.              PHONE: 859-281-1320
        LEXINGTON, KY 40511                FAX: 859-281-1337
                                           CINDY@CMGIANTTIRE.COM
   9    PHILLIPS MACHINE SERVICE INC.      CONTACT: BRUCE            TRADE DEBT                                                                           $455,221.17
        367 GEORGE STREET                  DICKERSON, CEO
        BECKLEY, WV 25801                  PHONE: 304-255-0537
                                           BRUCEDICKERSON@PHILLIPS
                                           MACHINE.COM
   10   PRICEWATERHOUSECOOPERS LLP         CONTACT: JON DILLOW       TRADE DEBT                                                                           $341,270.00
        ONE NORTH WACKER                   PHONE: 832-335-2505
        CHICAGO, IL 60606                  JON.DILLOW@PWC.COM
   11   WARWOOD ARMATURE REPAIR CO         CONTACT: RAYMOND          TRADE DEBT                                                                           $332,126.00
        128 NORTH 7TH STREET               THALMAN, PRESIDENT
        WHEELING, WV 26003-6981            PHONE: 304-277-2570
                                           FAX: 304-277-2917
                                           CTHALMAN@WARWOODAR
                                           MATURE.COM
   12   LOGAN COAL & TIMBER                CONTACT: RUFFNER WOODY TRADE DEBT                                                                              $298,133.04
        63 CHESTNUT RD STE 3               PHONE: 304-542-7833
        PAOLI, PA 19301                    HOLLYGROVEFORESTRY@GM
                                           AIL.COM
   13   CUSTOM ENGINEERING INC.            CONTACT: CRAIG         TRADE DEBT                                                                              $283,650.05
        656 HALL STREET                    MCCORMICK, PRESIDENT
        CLAY, KY 42404                     PHONE: 270-664-6207
                                           FAX: 270-664-2002
                                           CMCCULLOCH@CEIMINING.C
                                           OM;
                                           SMCCULLOCH@CEIMINING.C
                                           OM
   14   BRANDEIS MACHINERY & SUPPLY        CONTACT: BRIAN LOGSDON TRADE DEBT                                                                              $277,221.92
        1801 WATTERSON TRAIL               PHONE: 502-493-4273
        LOUISVILLE, KY 40299               BRIAN_LOGSDON@BRAMCO.
                                           COM
   15   INDUSTRIAL SUPPLY CO.              CONTACT: JERRY HUTSON, TRADE DEBT                                                                              $265,150.00
        2715 BOND ST                       PRES. OF KNOXVILLE
        KNOXVILLE, TN 37917-5102           PHONE: 865-522-1848
                                           INDUSTRIALSUPPLYCO@COM
                                           CAST.NET
   16   BILLS ELECTRONICS INC.             CONTACT: BILL R. BROWNING TRADE DEBT                                                                           $254,565.24
        1900 JERRY W HWY                   PHONE: 304-752-8667
        WILKINSON, WV 25653                FAX: 304-752-2320
                                           BILLSELECT@HOTMAIL.COM




Official Form 204       Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 40 Largest Unsecured Claims                                  Page 2
               Case 1:20-bk-12043              Doc 1       Filed 07/22/20 Entered 07/22/20 17:00:12                                    Desc Main
  Debtor: Hopedale Mining LLC                             Document      Page 10 of 20Number (if known):
                                                                                Case

   Name of creditor and complete mailing   Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                       professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                       services, and         or disputed     setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if       Deduction          Unsecured claim
                                                                                                             partially secured     for value of
                                                                                                                                   collateral or
                                                                                                                                   setoff

   17   DAVID STANLEY CONSULTANTS LLC      CONTACT: JIM HAYHURST       TRADE DEBT                                                                           $224,764.79
        100 VILLAGE DRIVE STE 200          PHONE: 304-534-3871
        FAIRMONT, WV 26554-7986            FAX: 304-534-3917
                                           JHAYHURST@DSC-LLC.COM
   18   CINCINNATI MINE MACHINERY          CONTACT: LOIS GROTHAUS TRADE DEBT                                                                                $222,276.31
        2950 JONROSE AVE                   PHONE: 513-728-4040
        CINCINNATI, OH 45239               FAX: 513-728-4041
                                           LGROTHAUS@CINMINE.COM


   19   TSJ CONSTRUCTION LLC               CONTACT: TATE JENSEN        TRADE DEBT                                                                           $216,852.50
        260 NORTH 700 EAST                 PHONE: 435-749-1910
        CLEVELAND, UT 84518                FAX: 435-653-2237
                                           OFFICE@TSJCONSTRUCTION.
                                           COM
   20   BOOKCLIFF SALES INC.               CONTACT: MARC SHINER   TRADE DEBT                                                                                $210,115.13
        42 S CARBON AVE                    PHONE: 435-637-5926
        PRICE, UT 84501                    FAX: 435-637-9766
                                           MARCBOOKCLIFF@GMAIL.CO
                                           M
   21   D. DEEL TRUCKING, INC.             CONTACT: DOUG DEEL          TRADE DEBT                                                                           $200,865.37
        1027 BURR OAK ROAD                 PHONE: 276-275-1028
        HAYSI, VA 24256                    DDEELINC@HOTMAIL.COM
   22   PARSLEYS GENERAL TIRE              CONTACT: JOHN PARSLEY,      TRADE DEBT                                                                           $197,918.11
        2006 N MAIN STREET                 PRESIDENT
        LONDON, KY 40741                   PHONE: 606-864-2276
                                           FAX: 606-864-2334
                                           PARSLEYTIRE@YAHOO.COM
   23   EBERHART SERVICE CENTER INC.       CONTACT: RICHARD        TRADE DEBT                                                                               $192,611.97
        272 OLD STEUBENVILLE PIKE          EBERHART, PRES.
        CADIZ, OH 43907                    PHONE: 304-752-8667
                                           FAX: 304-752-2320
                                           EBERHARTOFFICE@FRONTIER
                                           .COM
   24   UNITED CENTRAL INDUSTRIAL SUP.     CONTACT: DARRELL H. COLE,   TRADE DEBT                                                                           $184,055.58
        1241 VOLUNTEER PARKWAY             PRESIDENT & CEO
        SUITE 1000                         PHONE: 423-573-7300
        BRISTOL, TN 37620                  FAX: 423-573-7297
                                           AR@UNITEDCENTRAL.NET
   25   WHITE ARMATURE WORKS INC.          CONTACT: SHELLEY FRAZIER    TRADE DEBT                                                                           $174,893.88
        1150 HUFF CREEK HWY                PHONE: 304-583-9681
        MALLORY, WV 25634                  FAX: 304-583-2972
                                           SFRAZIER@WHITEARM.COM
   26   C B INDUSTRIES INC                 CONTACT: JAMES BROWN    TRADE DEBT                                                                               $172,708.95
        997 COWPEN ROAD                    PHONE: 606-432-4948
        PIKEVILLE, KY 41501                FAX: 606-432-4948
                                           CBINDUSTRIES@HOTMAIL.CO
                                           M
   27   APPALACHIAN POWER COMPANY          CONTACT: TRACY HERTIG       TRADE DEBT                                                                           $169,647.85
        500 ROSS ST 154-0470               PHONE: 304-327-2113
        PITTSBURGH, PA 15262-0001          TNHERTIG@AEP.COM




Official Form 204       Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 40 Largest Unsecured Claims                                    Page 3
               Case 1:20-bk-12043               Doc 1      Filed 07/22/20 Entered 07/22/20 17:00:12                                    Desc Main
  Debtor: Hopedale Mining LLC                             Document      Page 11 of 20Number (if known):
                                                                                Case

   Name of creditor and complete mailing   Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                       professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                       services, and         or disputed     setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if       Deduction          Unsecured claim
                                                                                                             partially secured     for value of
                                                                                                                                   collateral or
                                                                                                                                   setoff

   28   XPRESS SERVICE & SALES INC         CONTACT: MELINDA NIXON      TRADE DEBT                                                                           $165,020.00
        12744 KINGSTON PIKE                PHONE: 276-395-7560
        SUITE 202                          FAX: 276-395-5357
        KNOXVILLE, TN 37934                MNIXON@XPRESSCABLE.CO
                                           M
   29   JONES DAY                          CONTACT: RANDI C LESNICK,   TRADE DEBT                                                                           $161,635.86
        250 VERSY STREET                   PARTNER
        NEW YORK, NY 10281-1047            PHONE: 212-326-3452
                                           RCLESNICK@JONESDAY.COM


   30   SAVAGE SERVICES CORPORATION        CONTACT: BECKY HUGHES,  TRADE DEBT                                                                               $157,815.85
        901 W. LEGACY CENTER WAY           AR
        MIDVALE, UT 84047                  PHONE: 801-944-6655
                                           BECKYH@SAVAGESERVICES.C
                                           OM
   31   PAULS FAN COMPANY                  CONTACT: SAMANTHA           TRADE DEBT                                                                           $154,556.96
        2738 HOME CREEK RD                 CHARLES, AR
        GRUNDY, VA 24614                   PHONE: 276-530-7311
                                           FAX: 276-530-7315
                                           SAMANTHA@PAULSFAN.CO
                                           M
   32   TUG VALLEY SERVICE & SUPPLY, LLC   CONTACT: MIKEY BLACKBURN TRADE DEBT                                                                              $150,967.67
        333 ROUTE 52                       PHONE: 304-393-3550
        PO BOX 214                         MIKEYBLACKBURN@TUGVAL
        KERMIT, WV 25674                   LEYSERVICE.COM


   33   DIRECT ENERGY BUSINESS, LLC        CONTACT: DERRICK        TRADE DEBT                                                                               $146,777.53
        1001 LIBERTY AVENUE, SUITE 1200    MASCHOFF, CUSTOMER
        PITTSBURGH, PA 15222               RELATIONS
                                           PHONE: 888-925-9115
                                           DERRICK.MASCHOFF@DIRECT
                                           ENERGY.COM
   34   JENNMAR CORPORATION                CONTACT: JAMES PFEIFER,     TRADE DEBT                                                                           $145,025.74
        258 KAPPA DRIVE                    GENERAL COUNSEL
        PITTSBURGH, PA 15238               PHONE: 412-963-9071
                                           FAX: 412-963-8099
                                           IRADION@JENNMAR.COM;
                                           AHRUSKA@JENNMAR.COM
   35   HIGHLAND MACHINERY CORP.           CONTACT: BILL SULLIVAN,     TRADE DEBT                                                                           $142,451.35
        40 LAMPLIGHTER ST.                 PRESIDENT
        OAK HILL, WV 25901                 PHONE: 304-465-3295
                                           FAX: 304-465-8576
                                           CONTACT@HMCWV.COM
   36   WARCO SALES INC                    CONTACT: CHAD THALMAN       TRADE DEBT                                                                           $137,905.00
        128 NORTH 7TH STREET               PHONE: 304-277-2550
        WHEELING, WV 26003-6981            FAX: 304-277-1383
                                           CTHALMAN@WARWOODAR
                                           MATURE.COM
   37   YOUNG CONAWAY STARGATT &           CONTACT: JAMES YOCH,        TRADE DEBT                                                                           $135,575.01
        TAYLOR, LLP                        PARTNER
        RODNEY SQUARE                      PHONE: 302-576-3584
        1000 NORTH KING STREET             FAX: 302-576-3744
        WILMINGTON, DE 19801               JYOCH@YCST.COM




Official Form 204       Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 40 Largest Unsecured Claims                                    Page 4
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  Debtor: Hopedale Mining LLC                            Document      Page 12 of 20Number (if known):
                                                                               Case

   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured claim
                                                                                                           partially secured     for value of
                                                                                                                                 collateral or
                                                                                                                                 setoff

   38   GENCO MINE SERVICE                 CONTACT: DAVE SEBRING  TRADE DEBT                                                                              $128,248.04
        630 N 400 E                        PHONE: 435-687-2464
        HUNTINGTON, UT 84528               FAX: 435-687-9256
                                           DAVE@GENCOMINESERVICE.
                                           COM
   39   CHEMICAL SALES & CONSULTING        CONTACT: RANDY CHAPMAN    TRADE DEBT                                                                           $124,971.30
        403 CEDAR HILLS DRIVE              PHONE: 606-835-4666
        PIKEVILLE, KY 41501-8706           CHEMICALSALESANDCONSUL
                                           TING@YAHOO.COM


   40   R&M ENGINEERING CONSULTANTS        CONTACT: NYLA MILLER, TRADE DEBT                                                                               $121,226.49
        LLC                                OFFICE MANAGER
        5280 COMMERCE DRIVE E130           PHONE: 801-263-3419
        MURRAY, UT 84107                   NYLAM@RMSTRUCTURAL.CO
                                           M




Official Form 204       Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 40 Largest Unsecured Claims                                  Page 5
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 Fill in this information to identify the case:

 Debtor name         Hopedale Mining LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration     List of Equity Security Holders and Corporate Ownership Statement


       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           07/22/2020                             X /s/ Richard A. Boone
                                                                       Signature of individual signing on behalf of debtor

                                                                       Richard A. Boone
                                                                       Printed name

                                                                       President and Chief Executive Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
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                        JOINT UNANIMOUS WRITTEN CONSENT
                    OF THE SOLE MANAGER AND SOLE MEMBER OF

RHINO TRUCKING LLC, RHINO EXPLORATION LLC, TRIAD ROOF SUPPORT
SYSTEMS LLC, SPRINGDALE LAND, LLC, MCCLANE CANYON MINING LLC,
RHINO NORTHERN HOLDINGS LLC, CAM-OHIO REAL ESTATE LLC, CAM-
COLORADO LLC, TAYLORVILLE MINING LLC, CAM COAL TRADING LLC,
CASTLE VALLEY MINING LLC, RHINO EASTERN LLC, RHINO SERVICES LLC,
RHINO OILFIELD SERVICES LLC, RHINO TECHNOLOGIES LLC, CAM MINING
LLC, RHINO COALFIELD SERVICES LLC, HOPEDALE MINING LLC, CAM-
KENTUCKY REAL ESTATE LLC, CAM-BB LLC, LEESVILLE LAND, LLC, CAM
AIRCRAFT LLC, PENNYRILE ENERGY LLC and JEWELL VALLEY MINING LLC

                                IN LIEU OF SPECIAL MEETING

                                           July 21, 2020

         In lieu of separate meetings of the sole Manager (the "Manager") and the sole Member
(the "Member") of each of Rhino Trucking LLC, Rhino Exploration LLC, Triad Roof Support
Systems LLC, Springdale Land, LLC, McClane Canyon Mining LLC, Rhino Northern Holdings
LLC, CAM-Ohio Real Estate LLC, CAM-Colorado LLC, Taylorville Mining LLC, CAM Coal
Trading LLC, Castle Valley Mining LLC, Rhino Eastern LLC, Rhino Services LLC, Rhino
Oilfield Services LLC, Rhino Technologies LLC, CAM Mining LLC, Rhino Coalfield Services
LLC, Hopedale Mining LLC, CAM-Kentucky Real Estate LLC, CAM-BB LLC, Leesville Land,
LLC, CAM Aircraft LLC, Pennyrile Energy LLC and Jewell Valley Mining LLC, each a limited
liability company created and existing under the laws of the State of Delaware (each of the
companies listed above shall be referred to herein individually as "Company" and collectively as
the "Companies"), the undersigned Manager and Member of each Company, in accordance with
the Limited Liability Company Agreement of such Company, do hereby unanimously consent to
the adoption of the following recitals and resolutions by this joint unanimous written consent
(this "Consent"):

         WHEREAS, the Manager and Member of each Company have (a) regularly and
carefully reviewed the materials and other information presented by the management and the
advisors of such Company regarding business conditions, such Company's operations, its current
and projected financial position and other relevant information, (b) thoroughly evaluated such
Company's strategic alternatives, including a possible restructuring, (c) conferred extensively
with such Company's management and advisors regarding these matters, and (d) determined that
the filing of a voluntary petition for relief under chapter 11 of title 11 of the United States Code
(the "Bankruptcy") is in the best interests of such Company and its stakeholders;

       NOW THEREFORE, BE IT:

        RESOLVED, that in the judgment of the Manager and the Member of each Company it
is desirable and in the best interests of such Company, its creditors, and other interested parties
that such Company seek relief under chapter• 11 of the Bankruptcy Code;
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        FURTHER RESOLVED, that each Company shall be, and it hereby is, authorized to
file a voluntary petition (the "Petition") for relief under chapter 11 of the Bankruptcy Code (the
"Chapter 11 Case"), in the United States Bankruptcy Court for the Southern District of Ohio or
such other court as any Manager, director or officer, including the Chief Restructuring Officer,
(each, an "Authorized Person") of such Company shall determine to be appropriate (the
"Bankruptcy Court") and perform any and all such acts as are reasonable, advisable, expedient,
convenient, proper or necessary to effect the foregoing, the performance of such acts to
constitute conclusive evidence of the reasonableness, advisability, expedience, convenience,
appropriateness or necessity thereof;

        FURTHER RESOLVED, that each Authorized Person shall be, and each of them
hereby is, authorized, directed and empowered, in the name and on behalf of each Company with
respect to which she/he is an Authorized Person, to: (a) execute, acknowledge, deliver and verify
the Petition and all other ancillary documents, and cause the Petition to be filed with the
Bankruptcy Court and make or cause to be made prior to execution thereof any modifications to
the Petition or ancillary documents as any such Authorized Person, in such person's discretion,
deems necessary, desirable or appropriate to carry out the intent and accomplish the purposes of
these resolutions; (b) execute, acknowledge, deliver, verify and file or cause to be filed all
petitions, declarations, affidavits, schedules, statements, lists, motions, applications, notices and
other papers or documents necessary, desirable or appropriate in connection with the foregoing
in such form or forms as any such Authorized Person may approve; (c) execute, on behalf of
each limited liability company, corporation, partnership, limited partnership or other entity for
which a Company is a manager, managing member, member or other governing authority, any
written consent or other written action approving, authorizing, ratifying or taking similar action
with respect to all or any hatters described in this Consent in a manner consistent with this
Consent; and (d) take or cause to be taken any and all further actions as the Authorized Persons
deem necessary, desirable or appropriate; and the actions of any Authorized Person taken
pursuant to this resolution, including the execution, acknowledgment, delivery and verification
of the Petition and all ancillary documents and all other petitions, declarations, affidavits,
schedules, statements, lists, motions, applications, notices and other papers or documents, shall
be conclusive evidence of such Authorized Person's approval and the necessity, desirability or
appropriateness thereof;

        FURTHER RESOLVED, that each Authorized Person shall be, and each of them
hereby is, authorized, directed and empowered, in the name and on behalf of each Company with
respect to which she/he is an Authorized Person, to retain: (a) Frost Brown Todd LLC; (b)
Energy Ventures Analysis, Inc.; (c) Whiteford, Taylor &Preston LLP; (d) FTI Consulting, Inc.;
(e) Cambio Group LLC and Thomas L. Fairfield; and (~ such additional professionals, including
attorneys, accountants, financial advisors, investment bankers, actuaries, consultants, agents or
brokers (together with the foregoing identified firms, the "Professionals"), in each case as in any
such Authorized Person's judgment may be necessary, desirable or appropriate in connection
with such Company's Chapter 11 Case and other related matters, on such teens, including
appropriate retention agreements and retainers, as such Authorized Person or Authorized Persons
shall approve and such Authorized Person's retention thereof to constitute conclusive evidence
of such Authorized Person's approval and the necessity, desirability or appropriateness thereof;



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       FURTHER RESOLVED, that the law firm of Frost Brown Todd LLC and any
additional conflicts, special or local counsel, if any, selected by the applicable Authorized
Persons shall be, and hereby are, authorized, empowered and directed to represent and assist
each Company, as debtor and debtor in possession, in connection with any chapter Il case
commenced by or against it under the Bankruptcy Code, including assisting each Company in
carrying out its duties under the Bankruptcy Code and taking any and all actions as may be
necessary or desirable to advance each Company's rights thereunder, including filing any
pleadings and taking any other actions as may be necessary or desirable;

       FURTHER RESOLVED, that Thomas L. Fairfield of Cambio Group LLC shall be, and
hereby is, authorized, empowered and directed to represent and assist each Company as its Chief
Restructuring Officer and Cambio Group LLC shall be, and hereby is, authorized, empowered
and directed to assist each Company, in each case, in connection with any chapter 11 case
commenced by or against it under the Bankruptcy Code;

        FURTHER RESOLVED, that the firm of Energy Ventures Analysis, Inc. shall be, and
hereby is, authorized, empowered and directed to represent and assist each Company as its
financial advisor in connection with any chapter 11 case commenced by or against it under the
Bankruptcy Code;

       FURTHER RESOLVED, that the firm of FTI Consulting, Inc. shall be, and hereby is,
authorized, empowered and directed to assist each Company in preparing schedules, reports and
other matters, at the direction of the Chief Restructuring Officer, in connection with any chapter
11 case commenced by or against it under the Bankruptcy Code;

       FURTHER RESOLVED, that each Authorized Person, employee and agent shall be,
and each of them hereby is, authorized, directed and empowered, in the name and on behalf of
each Company with respect to which she/he is an Authorized Person, employee or agent, to
continue to operate such Company and its business in the ordinary course of business;

         FURTHER RESOLVED, that in the judgment of the Manager and the Member of each
Company it is desirable and in the best interests of such Company, its creditors, and other
interested parties that such Company obtain a new debtor in possession financing facility or
facilities to facilitate the conduct of such Company's business as part of the Chapter 11 Case;

        FURTHER RESOLVED, that each Company, as debtor and debtor in possession under
chapter 11 of the Bankruptcy Code, shall be, and it hereby is, authorized to: (a) seek approval of a
cash collateral and debtor in possession financing order in interim and final form (a "Financing
Order") and, as permitted in accordance with the Financing Order, enter into and incur any
obligations under a new debtor in possession financing facility or facilities, including use of cash
collateral, and any associated documents and consummate the transactions contemplated therein
(collectively, the "Financing Transactions") with Colbeck Strategic Lending Master, L.P. and
Cion Investment Corporation or such other lenders and on such teens as may be approved by any
one or more of the Authorized Persons of such Company, as may be reasonably necessary,
desirable or appropriate for the continuing conduct of the affairs of such Company; and (b) pay all
fees and expenses with respect to, incur (or guarantee, as applicable) the debt and other
obligations and liabilities contemplated by, and perform fully such Company's obligations under,

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the Financing Order and the Financing Transactions and grant security interests in and liens upon
some, all or substantially all of such Company's assets, whether now owned or hereafter
acquired, in each case as may be deemed necessary, desirable or appropriate by any one or more
of the Authorized Persons of such Company in connection with the Financing Transactions; and
the actions of any Authorized Person taken pursuant to this resolution shall be conclusive
evidence of such Authorized Person's approval and the necessity, desirability or appropriateness
thereof;

        FURTHER RESOLVED, that: (a) the Authorized Persons shall be, and each of them
hereby is, authorized, directed and empowered, in the name and on behalf of each Company with
respect to which she/he is an Authorized Person, as debtor and debtor in possession, to seek
approval of the Financing Order and negotiate, execute, acknowledge, deliver and verify such
certificates, instruments, guaranties, credit agreements, pledge agreements, security agreements,
promissory notes, letter of credit applications, mortgages, deeds of trust, intellectual property
security agreements, account control agreements, other collateral documents or security
instruments, instruments, notices and any and all other agreements or documents arising in
connection with the Financing Order or the Financing Transactions as any such Authorized
Person may deem necessary or appropriate to facilitate the Financing Order and the Financing
Transactions, in each case including any amendments, amendment and restatements, renewals,
replacements, consolidations, substitutions, extensions, supplements or other modifications to the
foregoing (collectively, the "Financing Documents"); (b) Financing Documents containing such
provisions, terms, conditions, covenants, warranties and representations as may be deemed
necessary, desirable or appropriate by any Authorized Person of a Company are approved; and
(c) the actions of any Authorized Person taken pursuant to this resolution, including the
negotiation, execution, acknowledgement, delivery and verification of all such Financing
Documents, shall be conclusive evidence of such Authorized Person's approval and the
necessity, desirability or appropriateness thereof;

        FURTHER RESOLVED, that in the judgment of the Manager and the Member of each
Company it is desirable and in the best interests of such Company, its creditors, and other
interested parties that such Company sell all or substantially all of its assets as part of the
Chapter 11 Case;

        FURTHER RESOLVED, that each Company, as debtor and debtor in possession under
chapter 11 of the Bankruptcy Code, shall be, and it hereby is, authorized to enter into an Asset
Purchase Agreement with respect to the sale of substantially all of such Company's assets in
substantially the form provided to the Manager and the Member of such Company with such
changes therein as may be approved by one or more of the Authorized Persons of such Company
(the "Stalking Horse Bid"); and

        FURTHER RESOLVED, that each Company, as debtor and debtor in possession under
chapter 11 of the Bankruptcy Code, shall be, and it hereby is, authorized to: (a) seek approval of a
sale order (a "Sale Order") and, as permitted in accordance with the Sale Order, enter into and
incur any obligations under one or more asset purchase agreements and any associated documents
and consu~n~nate the transactions contemplated including, without aimitation, the Stalking Horse
Bid (collectively, the "Sale Transactions"), with such purchasers and on such terms as may be
approved by any one or more of the Authorized Persons of such Company, as may be reasonably
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necessary, desirable or appropriate for the sale of the assets of such Company; and (b) pay all fees
and expenses with respect to, incur the obligations and liabilities contemplated by, and perform
fully such Company's obligations under, the Sale Order and the Sale Transactions, in each case
as may be deemed necessary, desirable or appropriate by any one or more of the Authorized
Persons of such Company in connection with the Sale Transactions; and the actions of any
Authorized Person taken pursuant to this resolution shall be conclusive evidence of such
Authorized Person's approval and the necessity, desirability or appropriateness thereof;

        FURTHER RESOLVED, that: (a) the Authorized Persons shall be, and each of them
hereby is, authorized, directed and empowered, in the name and on behalf of each Company with
respect to which she/he is an Authorized Person, as debtor and debtor in possession, to seek
approval of the Sale Order and negotiate, execute, acknowledge, deliver and verify such asset
purchase agreements, bills of sale, assignments of leases, assignments of contracts, permit
operating agreements, certificates, instruments and any and all other agreements or documents
arising in connection with the Sale Order or the Sale Transactions as any such Authorized Person
may deem necessary or appropriate to facilitate the Sale Order and the Sale Transactions, in each
case including any amendments, amendment and restatements, renewals, replacements,
consolidations, substitutions, extensions, supplements or other modifications to the foregoing
(collectively, the "Sale Documents"); (b) Sale Documents containing such provisions, terms,
conditions, covenants, warranties and representations as may be deemed necessary, desirable or
appropriate by any Authorized Person of a Company are approved; and (c) the actions of any
Authorized Person taken pursuant to this resolution, including the negotiation, execution,
acknowledgement, delivery and verification of all such Sale Documents, shall be conclusive
evidence of such Authorized Person's approval and the necessity, desirability or appropriateness
thereof;

        FURTHER RESOLVED, that, in addition to the specific authorizations heretofore
conferred upon the Authorized Persons, each Authorized Person be, and hereby is, authorized
with full power of delegation, in the name and on behalf of each Company with respect to which
she/he is an Authorized Person, to take or cause to be taken any and all such further actions and to
execute, deliver, certify, file and/or record, or cause to be executed, delivered, certified, filed
and/or recorded, and to amend, supplement or otherwise modify from time to time, and to
perform, any and all such agreements, documents, certificates, instruments, statements, notices,
undertakings, amendments, declarations, affidavits, complaints, applications for approvals or
ruling of governmental or regulatory authorities and other writings, and to incur and to pay or
direct payment of all such fees and expenses, including filing fees, as in the judgment of such
Authorized Person shall be necessary, appropriate or desirable to effectuate a successful
restructuring of such Company's business, including without limitation any action necessary to
maintain the ordinary course operation of such Company's business, and the other purposes and
intent of any and all of the foregoing resolutions adopted herein; and the actions of any
Authorized Person taken pursuant to this resolution shall be conclusive evidence of such
Authorized Person's approval and the necessity, desirability or appropriateness thereof;

        FURTHER RESOLVED, that all acts lawfully done or actions lawfully taken by, or at
the direction of, an Authorized Person of a Company, or by any of the Professionals for a
Company, in connection with the Chapter 11 Case, any proceedings related thereto, any of the
matters contemplated by the foregoing resolutions or any matter related thereto, be, and hereby
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are, adopted, ratified, confirmed and approved in all respects as the acts and deeds of the
applicable Company;

        FURTHER RESOLVED, that any and all lawful acts, actions and transactions by, or at
the direction of, an Authorized Person of a Company, for and on behalf and in the name of such
Company, relating to any of the matters contemplated by the foregoing resolutions, including in
connection with the Financing Transactions or the Sale Transactions, before the adoption of the
foregoing resolutions be, and they hereby are, ratified, authorized, approved, adopted and
consented to in all respects for all purposes; and

        FURTHER RESOLVED, that each Authorized Person hereby is authorized and directed
to certify and/or attest these resolutions to any person or entity as such Authorized Person may
deem necessary or appropriate in connection with the foregoing matters; provided, however, that
such certification and/or attestation shall not be required for any document, instrument or
agreement to be valid and binding on a Company; and

       FURTHER RESOLVED, that this Consent may be executed in any number of separate
counterparts, each of which shall collectively and separately constitute one Consent and any
facsimile or photocopy of the same shall constitute an original.



           [Remaindci• of Page Intentionally Left Blank; Signature Pages Follow]




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          IN WITNESS WHEREOF, the undersigned has executed this Consent to be effective as
  of the date first set forth above.

                                           Sole Manager and Sole Member of Rhino
                                           Trucking LLC, Rhino Exploration LLC, Triad
                                           Roof Support Systems LLC, Springdale Land,
                                           LLC, McClane Canyon Mining LLC, Rhino
                                           Northern Holdings LLC, CAM-Ohio Real Estate
                                           LLC, CAM-Colorado LLC, Taylorville Mining
                                           LLC, CAM Coal Trading LLC, Castle Valley
                                           Mining LLC, Rhino Eastern LLC, Rhino
                                           Services LLC, Rhino Oilfield Services LLC,
                                           Rhino Technologies LLC, CAM Mining LLC,
                                           Rhino Coalfield Services LLC, Hopedale Mining
                                           LLC, CAM-Kentucky Real Estate LLC, CAM-
                                           BB LLC, Leesville Land, LLC, CAM Aircraft
                                           LLC, Pennyrile Energy LLC and Jewell Valley
                                           Mining LLC

                                           RHINO ENERGY LLC


                                           By:
                                           Name: Ric and A. Boone
                                           Title: President and CEO




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